Case 18-65224-jrs      Doc 62     Filed 11/12/20 Entered 11/12/20 08:26:26           Desc Main
                                  Document Page 1 of 3




  IT IS ORDERED as set forth below:



  Date: November 11, 2020
                                                   _____________________________________
                                                               James R. Sacca
                                                         U.S. Bankruptcy Court Judge

 _______________________________________________________________




                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

               IN RE:                               :       CHAPTER 13
               TRENT ONDREA JONES                   :       CASE NUMBER A18-65224-JRS
               BRIDGET LASHELL JONES                :
                     DEBTORS                        :

               CONSENT ORDER ON TRUSTEE’S MOTION TO DISMISS

       On October 20, 2020 at 10:00 a.m., the Court held a hearing on the Trustee’s Motion to

Dismiss based upon the Debtors’ failure to make Chapter 13 plan payments thus causing a

delinquency in said plan. It further appears to the Court that the Debtors through counsel, agreed

at the call of the Court’s calendar, to a payment arrangement on a strict compliance basis. For

cause shown, IT IS HEREBY

       ORDERED, that the Debtors shall resume monthly payments to the Chapter 13 Trustee

immediately and shall make all future payments in a timely manner until the Chapter 13 Plan is
Case 18-65224-jrs           Doc 62   Filed 11/12/20 Entered 11/12/20 08:26:26      Desc Main
                                     Document Page 2 of 3



completed. Debtors shall strictly comply with the terms of this Order, and IT IS FURTHER

          ORDERED that should Debtors fail to make any payment due pursuant to the Plan on a

timely basis for twelve (12) months following entry of this Order, then the case shall be

dismissed without further notice or hearing upon the receipt of the Chapter 13 Trustee's

Supplemental Status Report requesting an Order of Dismissal.

          The Clerk of the Court is directed to serve this Order on the parties included in the

attached Distribution List.

                                      END OF DOCUMENT


PRESENTED BY:



____/s/____________________
Maria C. Joyner
Attorney for Chapter 13 Trustee
GA Bar No. 118350
303 Peachtree Center Ave., NE
Suite 120
Atlanta, GA 30303
678.992.1201



CONSENTED BY:



____/s/____________________
Jonathan C. Ginsberg
Attorney for Debtors
GA Bar No. 295690
Ginsberg Law Offices, P.C.
1854 Independence Square
Atlanta, GA 30338
Signed by Maria C. Joyner
with express permission
Case 18-65224-jrs       Doc 62   Filed 11/12/20 Entered 11/12/20 08:26:26   Desc Main
                                 Document Page 3 of 3



                                  DISTRIBUTION LIST

Case No.: A18-65224-JRS


Trent Ondrea Jones
Bridget Lashell Jones
P.O. Box 80082
Atlanta, GA 30366

Ginsberg Law Offices, P.C.
1854 Independence Square
Atlanta, GA 30338

Nancy J. Whaley
303 Peachtree Center Ave., NE
Suite 120
Atlanta, GA 30303
